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 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   DAVID FABBRINI,                         )
                                             )
11                     Plaintiff,            )   2:07-cv-01099-GEB-CMK
                                             )
12             v.                            )   ORDER*
                                             )
13   CITY OF DUNSMUIR, JOHN FISHER,          )
     BILL SANFORD, KEITH ANDERSON,           )
14   and DOES 1 through 10, inclusive,       )
                                             )
15                     Defendants.           )
                                             )
16
17             Defendants move for summary judgment of Plaintiff’s 42
18   U.S.C. § 1983 malicious prosecution claim.       The gravamen of this claim
19   is that the Defendant City of Dunsmuir lacked probable cause to
20   commence a prior state court declaratory relief lawsuit against
21   Plaintiff for his refusal to provide full collateralization to the
22   City for a loan he obtained from the City.
23             Defendants show in their motion that they had probable cause
24   to commence the lawsuit.       Plaintiff admits in his response to
25   Defendants’ Statement of Undisputed Facts that he did not provide full
26   collateralization on the loan he received from the City, in violation
27
          *
28             This matter was determined to be suitable for decision without
     oral argument. L.R. 78-230(h).

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 1   of the terms of the loan.       (Defs.’ Statement of Undisputed Facts ¶¶ 5,
 2   6.)
 3               Plaintiff also seeks “additional time to complete discovery”
 4   under Federal Rule of Civil Procedure 56(f), following which he would
 5   supplement his opposition to Defendants’ summary judgment motion.
 6   However, “Rule 56(f) requires affidavits setting forth particular
 7   facts expected from [additional] discovery.”          Mackey v. Pioneer Nat’l
 8   Bank, 867 F.2d 520, 523-24 (9th Cir. 1989) (citation omitted).
 9   Plaintiff merely states he intends to depose Defendant John Fischer on
10   May 1, 2009; however, this statement does not explain the particular
11   facts Plaintiff expects to discover at this deposition.           Therefore,
12   Plaintiff’s Rule 56(f) request is denied.
13               Plaintiff also seeks in his Opposition brief reconsideration
14   of the Court’s February 12, 2008 Order.         However, Plaintiff’s
15   reconsideration request does not comply with Local Rule 78-230(k),
16   which requires the request to state “what new or different facts or
17   circumstances are claimed to exists which did not exist or were not
18   shown upon [the] prior motion, or what other grounds exist for the
19   motion, and [] why the facts or circumstances were not shown at the
20   time of the prior motion.”       Therefore this request is denied.
21               For the stated reasons, Defendants’ motion is granted and
22   judgment shall be entered in favor of Defendants.
23   Dated:    May 19, 2009
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25                                      GARLAND E. BURRELL, JR.
26                                      United States District Judge

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